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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            CASE NO. 8:09CR411
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
ARNEL KNIGHT, et al.,                        )
                                             )
             Defendants.                     )

      This matter is before the Court on the Clerk’s memorandum (Filing No. 85)

regarding a pro se Notice of Appeal (Filing No. 84) filed by Claimant Tyrell Knight.

      On August 11, 2010, the Court ordered that $6,373.00 be forfeited, after forfeiture

proceedings were concluded. On January 24, 2011, the Claimant filed a claim to the

property, which the Court denied. The Claimant appeals the denial of his claim.

       The Claimant’s appeal is not taken in good faith, is frivolous, and he has failed to

state a claim upon which relief may be granted. Therefore, he is denied leave to proceed

in forma pauperis on appeal.

      IT IS ORDERED:

      1.     The Claimant, Tyrell Knight, is denied leave to proceed in forma pauperis on

             appeal; and

      2.     The Clerk is directed to mail a copy of this order to the Claimant at his last

             known address.

      DATED this 14th day of February, 2011.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
